  Case 3:12-cr-00695-CCC       Document 122      Filed 10/28/13    Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                               CRIMINAL 12-0695CCC
 1) JOSE M. CAPELLA-QUIÑONES,
 a/k/a Joe Capella
 2) GIOVANNI A. VARGAS-RAMIREZ,
 a/k/a Gio
 3) SIGFREDO GONZALEZ-BLAS,
 a/k/a Fro, Freddy, Frog
 4) LUIS OQUENDO-SANTIAGO, a/k/a Junny
 Defendants


                                         ORDER

       Having considered the Report and Recommendation filed on October 9, 2013
(docket entry 121) on a Rule 11 proceeding of defendant [2] Giovanni A. Vargas-Ramírez
before U.S. Magistrate Judge Camille L. Vélez-Rivé on October 8, 2013, to which no
objection has been filed, the same is APPROVED. Accordingly, the plea of guilty of
defendant is accepted. The Court FINDS that his plea was voluntary and intelligently
entered with awareness of his rights and the consequences of pleading guilty and contains
all elements of the offense charged in the indictment.
       This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since October 8, 2013.       The sentencing hearing is set for
February 6, 2014 at 4:15 PM.
       SO ORDERED.
       At San Juan, Puerto Rico, on October 28, 2013.



                                         S/CARMEN CONSUELO CEREZO
                                         United States District Judge
